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                                  Like         Reply         20w
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                                               Kelly Rodriguez
                                              John Wayne omg he looks like Farva from Super
                                              Troopers?! Ahahahaha!!
                                               Like         Reply   20w                            0
                                               Renee Munson Richards
                                              John Wayne Wing got an award for that years and
                                              years ago.
                                               Like         Reply   20w

                                  Karla Rae
                                  Lucky to be Alive!!!
                                  Like         Reply         20w

                                  Matt O'Harra
                                 Thats cops now a days
                                  Like         Reply         20w      0
                                 Tay Galanakis
                                 Officer Winters is not fit mentally for the job and
                                 physically - -




                                  Like         Reply         20w

                                              Tay Galanakis
                                              This is his face walking in my room finding out he
https://www.facebook.com/tayvin.galanakis/posts/pfbid0HhthUjgJNB2vhYoZ5TWusf6ButWYuyNZepYQeVVTcopoAeGYFJEXcUNX3731bDeyl          12/61
